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 HUSCH BLACKWELL LLP
 David Stauss (NJ I.D. #013862005)
 1801 Wewatta Street, Suite 1000
 Denver, CO 80202
 Telephone: 303.749.7200
 Facsimile: 303.749.7272
 Email: david.stauss@huschblackwell.com

 HUSCH BLACKWELL LLP
 Caleb T. Holzaepfel, Esq.
 Admitted pro hac vice
 736 Georgia Avenue, Suite 300
 Chattanooga, Tennessee 37402
 Telephone: 423.755.2654
 Email: caleb.holzaepfel@huschblackwell.com

 Attorneys for Safety National Casualty Corporation

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY
 --------------------------------------------------------------x
                                                               :
      In re                                                    :        Chapter 11
                                                               :
      BED BATH & BEYOND INC., et al.,                          :
                                                               :        Case No. 23-13359 (VFP)
                                                               :
                   Debtors. 1                                  :        (Jointly Administered)
                                                               :
 --------------------------------------------------------------x

                      OBJECTION OF SAFETY NATIONAL
                  CASUALTYCORPORATION AS TO NOTICE OF
           MOTION FOR AN ORDER MODIFYING THE AUTOMATIC STAY
       AND PLAN INJUNCTION TO ALLOW MOVANT TO CONTINUE PENDING
       LITIGATION AGAINST THE DEBTOR, TO RECOVER SOLELY AGAINST
       DEBTOR’S INSURER, WAIVING THE PROVISIONS OF FED. R. BANKR. P.
                     4001(a)(3) AND FOR RELATED RELIEF




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  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor
 Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is
 650 Liberty Avenue, Union, New Jersey 07083.

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         Safety National Casualty Corporation (“Safety National”), by and through the

 undersigned counsel, hereby files this objection and reservation of rights (the “Objection”) as to

 the Notice of Motion for Order Modifying the Automatic Stay and Plan Injunction to Allow Movant

 to Continue Pending Litigation Against the Debtor, to Recover Solely Against Debtor’s Insurance,

 Waiving the Provisions of Fed. R. Bankr. P. 4001(a)(3) and for Related Relief filed by Alfred Zeve

 [Docket No. 2936] (the “Motion”). In support of this Objection, Safety National respectfully states

 a follows:

        1.      On March 28, 2024, movant Alfred Zeve (“Zeve” or “Movant”) filed his Motion,

 requesting relief from the automatic stay to pursue claims against Debtor Bed Bath & Beyond, Inc.

 affiliates of the Debtor (collectively, the “Debtors”) and, to “recover solely against the Debtor’s

 insurers and insurance policies” pursuant to that pending case Alfred Zeve v. Bed, Bath & Beyond,

 Inc., et al., Case No. DC-23-01958 filed on February 10, 2023 in the District Court of Dallas

 County, Texas, 101th Judicial District (the “State Court Lawsuit”). The State Court Lawsuit

 includes premises claims (the “Zeve Claim”) against the Debtors based on alleged injuries

 sustained by Zeve on February 27, 2021 while he was a patron/business invitee in a Bed Bath &

 Beyond store located in Dallas, Texas. The Motion requests that Zeve be allowed to the pursue

 Zeve Claim against the Debtors under the State Court Lawsuit to the extent of applicable insurance.

        2.      Safety National provided general liability insurance coverage to Debtors pursuant

 to certain insurance policies and related documents (the “Safety National Insurance Policies”)

 subject to a $1 Million Self-Insured Retention Limit (the “SIR”).

        3.      On May 31, 2023, this Court issued its Order (I) Setting Bar Dates for Submitting

 Proofs of Claim, Including Requests for Payment Under Section 503(b)(9), (II) Establishing

 Amended Schedules Bar Date, Rejection Damages Bar Date, and Administrative Claims Bar Date,



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 (III) Approving the Form, Manner, and Procedures for Filing Proofs of Claim, (IV) Approving

 Notice Thereof, and (V) Granting Related Relief [Dkt. No. 584] (the “Bar Date Order”).

        4.      The Bar Date Order established July 7, 2023 (the “General Claims Bar Date”), as

 the last date for each person or entity to submit a proof of claim against the Debtors.

        5.      On September 14, 2023, this Court issued its Findings of Fact, Conclusions of Law,

 and Order (I) Approving the Disclosure Statement on a Final Basis and (II) Confirming the Second

 Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and Its Debtor Affiliates [Dkt. No.

 2172] approving Debtors’ Second Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. And

 Its Debtor Affiliates (as may be modified, the “Plan”) [Docket No. 2160].

        6.      The Plan assumed the Safety National Insurance Policies on the Effective Date.

        7.      The Effective Date of the Plan occurred on September 29, 2023 [Dkt. No. 2311].

                       OBJECTION AND RESERVATION OF RIGHTS

        8.      As a threshold issue, Movant seeks to modify the automatic stay and plan injunction

 to pursue a claim against Debtor through his Motion. However, Movant has failed to timely file a

 proof of claim in the Debtors’ above-captioned cases. Moreover, given the amount of the Zeve

 Claim (as defined below) and the SIR limits of the Safety National Insurance Policies, there is no

 insurance to cover the Zeve Claim. Finally, relief from the Plan Injunction is likely to incur

 administrative costs to the Estate – and for no purpose and there will be no avenue of recovery to

 Movant from insurance.

 The Motion Should Be Denied as Zeve Failed to Timely File His Proof of Claim, and as Such,
 His Claim Against Debtors Has Been Expunged.

        9.      The General Claims Bar Date was July 7, 2023.

        10.     Zeve filed a proof of claim on July 21, 2023. See Claims Register, Claim Number

 14513 (the “Zeve POC”). The Zeve POC asserts a claim for $245,000.

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        11.     The Bar Date Order states in no uncertain terms that:




        12.     Except for certain exclusions that are inapplicable here, the General Claims Bar

 Date applies to all claims against the Debtors that arose prior to April 23, 2023, including the Zeve

 Claim. Because Zeve’s claim arose prior to April 23, 2023, he was required to file a proof of claim

 by the General Claims Bar Date – and failed to do so.

        13.     Moreover, the confirmed Plan states, in relevant part, that:

        Any Claim or Interest that has been or is hereafter listed in the Schedules as
        contingent, unliquidated, or disputed, and for which no Proof of Claim is or
        has been timely Filed, is not considered Allowed and shall be expunged
        without further action by the Debtors and without further notice to any party
        or action, approval, or order of the Bankruptcy Court.

        Plan, Art. I.A.14 (emphasis added)

        14.     Zeve has failed to file a motion to deem the late Zeve POC as timely filed.

        15.     As noted in the Certification of Counsel attached in support of the Motion, “Debtor

 filed a Suggestion of Bankruptcy in the State Court Action, advising the State Court that the Debtor

 had filed a voluntary Chapter 11 petition on April 23, 2023.” Motion, Certification of Counsel, ¶

 5. As such, by Zeve’s counsels’ own admission, Zeve had notice of Debtors’ bankruptcy, and

 failed to timely file the Zeve POC. The Zeve POC (and by result the Zeve Claim against Debtors)

 has now been expunged by operation of the Plan and the Bar Date Order. As such, this Court

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 should deny the Motion.

 The Motion Should Be Denied as There is No Insurance for the Zeve Claim and Any Allowed
 Claim Based on the Zeve Claim Would be a General Unsecured Claim Against the Estate.

        16.       Moreover, as this Court is aware – the Debtors were self-insured for general

 liability causes of action. Safety National only provided coverage to Debtors on general liability

 claims (like the Zeve Claim) when the SIR limit was met.

        17.       As is clear from the face of this Motion and the attached State Court Lawsuit, the

 Zeve Claim “seeks only monetary relief of $250,000 or less”. In fact, the Zeve POC asserts a

 claim for only $245,000.

        18.       Notwithstanding the fact that the Zeve Claim was expunged pursuant to the terms

 of the Plan, there is no insurance proceeds to pursue. Even if allowed in full, the Zeve Claim

 would be a general unsecured claim against the Estate for $245,000 – a claim that falls three-

 quarters of million dollars below the SIR limit required for the Safety National Insurance Policies

 to be implicated. Safety National objects to any efforts to liquidate the Zeve Claim in the State

 Court Lawsuit to the extent of insurance proceeds as none exist.

 Lifting of the Plan Injunction is Likely to Incur Costs to the Estate.

        19.       The Safety National Insurance Policies were assumed pursuant to the Plan on the

 Effective Date. See Plan, Art. V.D.

        20.       Debtors are obligated under the Safety National Insurance Policies to defend or

 resolve claims below the SIR limit.

        21.       The Safety National Insurance Policies, among other things, also obligate Debtors

 to indemnify and reimburse Safety National for any defense costs Safety National incurs below

 the SIR limit.




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        22.     To the extent the Plan Injunction is lifted for Zeve to pursue the Zeve Claim, the

 Estate will either (i) be required to defend the Zeve Claim in the State Court Lawsuit, or (ii) if the

 Estate chooses not to defend, will incur administrative claim obligations to Safety National for its

 defense of the Zeve Claim in the State Court Lawsuit.

        23.     Relief from the Plan Injunction would only serve to cost a cash-strapped Estate

 valuable resources.

 Reservation of Rights

        24.     As of the filing of this Objection, no proposed stipulation has been filed on the

 docket nor have the Debtors filed any objection to the Motion. Safety National objects to any

 proposed order that attempts to modify the rights or defenses held by Safety National under the

 Safety National Insurance Policies, any other applicable policy or contractual agreements between

 the Debtors and Safety National, the Bankruptcy Code, or other applicable law. Accordingly,

 Safety National hereby expressly reserves all of it rights, claims, counterclaims, defenses, and

 remedies under the Bankruptcy Code, its insurance policy, any applicable contractual agreements

 between the Debtors and Safety National, and other applicable law.

         WHEREFORE the reasons set forth above, Safety National respectfully requests the

 Motion be denied.

 Dated: April 16, 2023                          Respectfully Submitted,
                                                /s/ David Stauss
                                                David Stauss (NJ I.D. #013862005)
                                                HUSCH BLACKWELL LLP
                                                1801 Wewatta Street, Suite 1000
                                                Denver, CO 80202
                                                T: 303.749.7200; F: 303.749.7272
                                                Email: david.stauss@huschblackwell.com




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                                              Caleb T. Holzaepfel, Esq. (admitted pro hac vice)
                                              HUSCH BLACKWELL LLP
                                              736 Georgia Avenue, Suite 300
                                              Chattanooga, Tennessee 37402
                                              T: 423.755.2654; F: 423.266.5500
                                              Email: caleb.holzaepfel@huschblackwell.com

                                              Attorneys for Safety National Casualty Corporation



                                 CERTIFICATE OF SERVICE

        I hereby certify that on this the 16th day of April, 2023, a true and correct copy of Safety
 National’s Objection has been electronically filed with the Court via the CM/ECF system and will
 be served by electronic means through the CM/ECF system to the below and to all registered
 CM/ECF participants.

  Debtors’ Counsel                                   Debtors’ Counsel
  Kirkland & Ellis LLP                               Cole Schotz P.C.
  Attn: Joshua A. Sussberg,                          Michael D. Sirota
  Attn: Emily E. Geier                               Warren A. Usatine
  Attn: Derek I. Hunter                              Felice R. Yudkin
  601 Lexington Avenue                               25 Main Street Hackensack
  New York, New York 10022                           New Jersey 07601
  joshua.sussberg@kirkland.com                       msirota@coleschotz.com
  emily.geier@kirkland.com                           wusatine@coleschotz.com
  derek.hunter@kirkland.com                          fyudkin@coleschotz.com

  United States Trustee                              Counsel to the Plan Administrator
  Fran B. Steele, Esq.                               Robert J. Feinstein
  Alexandria Nikolinos                               Bradford J. Sandler
  One Newark Center, Suite 2100                      Pachulski Stang Ziehl & Jones LLP
  Newark, NJ 07102                                   780 Third Avenue, 34th Floor
  Fran.B.Steele@usdoj.gov                            New York, NY 10017
  alexandria.nikolinos@usdoj.gov                     rfeinstein@pszjlaw.com
                                                     bsandler@pszjlaw.com

  Counsel to Sharmele Moore
  Paul Pflumm
  McDowell Law, PC
  46 W. Main Street
  Maple Shade, NJ 08052
  ppflumm@mcdowelllegal.com

                                              /s/ David Stauss
                                              David Stauss (NJ I.D. #013862005)

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